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              EXHIBIT 1
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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS

 RÜMEYSA ÖZTÜRK,
                                   Petitioner,
     v.                                                       Civil Action No. 1:25-cv-10695-DJC

 DONALD J. TRUMP, et al.,
                                   Respondents.


                     DECLARATION OF ATTORNEY JESSIE J. ROSSMAN


          I, Jessie J. Rossman, declare under penalty of perjury that the following is true and

correct:

          1.       I am an attorney for Petitioner Rümeysa Öztürk. I submit this declaration in support

of the Reply in Support of the Amended Petition.

          2.       Attached as Exhibit 1-A is a true and correct copy of a declaration by Cynthia Smith

dated April 1, 2025.

          3.       Attached as Exhibit 1-B is a true and correct copy of a declaration by Lynn Cooper,

D.Min dated March 31, 2025.

          4.       Attached as Exhibit 1-C is a true and correct copy of a declaration by Professor

Sara K. Johnson dated April 2, 2025.

          5.       Attached as Exhibit 1-D is a true and correct copy of a declaration by Mairéad

O’Grady dated April 1, 2025.

          6.       Attached as Exhibit 1-E is a true and correct copy of a declaration by Professor

Calvin L. Gidney dated March 30, 2025.

          7.       Attached as Exhibit 1-F is a true and correct copy of a declaration by Ayse Reyyan

Bilge Yildirim, PhD dated April 1, 2025.


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       8.       Attached as Exhibit 1-G is a true and correct copy of a declaration by Matthew N.

Gee dated April 1, 2025.

       9.       Attached as Exhibit 1-H is a true and correct copy of a declaration by Elisa Guzman

dated April 2, 2025.

       10.      Attached as Exhibit 1-I is a true and correct copy of a declaration by Professor Ellen

E. Pinderhughes dated April 1, 2025.

       11.      Attached as Exhibit 1-J is a true and correct copy of a declaration by Najiba Akbar

dated March 30, 2025.

       12.      Attached as Exhibit 1-K is a true and correct copy of a declaration by Alison

Campion dated April 2, 2025.

       13.      Attached as Exhibit 1-L is a true and correct copy of a declaration by Professor

Christine McWayne dated March 31, 2025.

       14.      Attached as Exhibit 1-M is a true and correct copy of a declaration by Dr. Julie

Dobrow dated March 30, 2025.

       15.      Attached as Exhibit 1-N is a true and correct copy of a declaration by Professor

Jayanthi Mistry dated March 30, 2025.

       16.      Attached as Exhibit 1-O is a true and correct copy of a declaration by W. George

Scarlett, PhD dated April 1, 2025.

       17.      Attached as Exhibit 1-P is a true and correct copy of a declaration by Sam Alterman

dated April 2, 2025.

       18.      Attached as Exhibit 1-Q is a true and correct copy of a declaration by SooYun

Byeon dated March 31, 2025.




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       19.     Attached as Exhibit 1-R is a true and correct copy of a declaration by Lucinda

Garcia dated April 2, 2025.

       20.     Attached as Exhibit 1-S is a true and correct copy of a declaration by Rola Kazaer

dated April 2, 2025.

       21.     Attached as Exhibit 1-T is a true and correct copy of a declaration by Professor

Saeed Mehraban dated April 1, 2025.

       22.     Attached as Exhibit 1-U is a true and correct copy of a declaration by Professor

Tama Leventhal dated March 30, 2025.

       23.     Attached as Exhibit 1-V is a true and correct copy of a declaration by Tufts

President Sunil Kumar dated April 1, 2025.

                                               ***

I declare under penalty of perjury that the foregoing is true and correct copy of.

Executed on April 2, 2025, in Boston, MA.



                                              /s /Jessie J. Rossman
                                              Jessie J. Rossman




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           EXHIBIT 1-A
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Tufts Eliot-Pearson Department of
                       SCHOOL OF ARTS AND SCIENCES



                       Child Study and Human Development

April 1, 2025

I, Cynthia Smith, depose and state as follows:

I am an individual of sound mind and legal age. I make this affidavit based on my personal
knowledge and relationship with Rumeysa Öztürk, a doctoral student at Tufts Graduate School of Arts
and Sciences where I am a faculty member in the Eliot Pearson Department of Child Study and
Human Development.

As a faculty member at Tufts University in the Eliot Pearson Department of Child Study and Human
Development, I have had the privilege of knowing and collaborating with Rumeysa Öztürk for three
years on various projects for the community … the most memorable being a workshop on Collective
Grieving for Children at the Interfaith Center at Tufts University. Our relationship has been deeply
rooted in shared values, intellectual engagement, and a mutual commitment to the well-being of
children, women, and humanity as a whole. During this time, I have gotten to know Rumeysa on an
academic, professional and personal level.

Throughout our friendship, Rumeysa and I have engaged in extensive discussions about the
importance of family and friends … exchanging stories about her mom, her family’s garden in Turkey
and about her attempts to grow a small indoor garden in her apartment in Somerville. We have often
reflected on the role of community in fostering emotional well-being and resilience, and we have
shared personal experiences that underscore our commitment to nurturing strong social connections.
We would often be the first ones arriving to campus, in the early morning, which gave us an
opportunity to talk about a soup recipe we tried, how taking walks help us to destress and focus on
the work we are engaged in, and how we both strive to serve children. In addition to these
conversations, we collaborated on a grief workshop aimed at providing support to individuals
navigating individual and collective loss.. Rumeysa's leadership, insights, empathy, and intellectual
contributions significantly enriched the workshop, making it a valuable resource for all participants
which included students, faculty, and staff.

Rumeysa has demonstrated unwavering dedication to the welfare of children, women, and humanity
through her academic work and community involvement. Her research focuses on the positive
development of adolescents in a media-embedded, digitally connected world. Her commitment to
mentorship, education, and advocacy has been evident in her role as a Teaching Assistant and in her
involvement in various initiatives that promote well-being and inclusivity.
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Rumeysa and I share a profound appreciation for the creative arts as a tool for social and emotional
well-being. We have discussed and explored how artistic expression can be used to foster healing,
resilience, and community engagement. Her contributions and leadership on projects, such as a
community expressive arts grief workshops and the mosaic project, symbolizing the values of the
Eliot-Pearson Department, highlight her belief in the transformative power of art.

Beyond academic and professional collaborations, Rumeysa and I have cultivated a friendship
enriched by shared culinary experiences. We have made soups for each other, exchanged our
favorite recipes, and bonded over the joy of cooking. These simple yet meaningful gestures reflect her
generous spirit, warmth, and dedication to building authentic relationships.

It is with deep concern that I acknowledge and bear witness to Rumeysa’s current detention in a
federal facility in Louisiana. Her absence has left a profound void in our community. As attested by her
colleagues, students, and friends at Tufts University, Rumeysa is a dedicated scholar, mentor, and a
person of immense integrity and kindness. Her contributions extend far beyond academia, touching
the lives of those around her in immeasurable ways.
I attest to Rumeysa’s character as a compassionate, service-minded, and principled individual. Her
presence is invaluable to our academic and social community, and I urge the relevant authorities to
recognize the immense positive impact she has had on those who know her.

I submit this affidavit in good faith and in support of Rumeysa Öztürk, affirming her contributions to
academia, her unwavering commitment to humanity, and the profound impact she has made on my
life and the lives of many others.


I affirm that the statements made in this affidavit are true and correct to the best of my knowledge and
belief.

Rumeysa needs to remain in the United States and be returned to Massachusetts because she is a
significant contributor to all facets of our community … making the world a better place.

In solidarity and support,


Cynthia Smith




April 1, 2025
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           EXHIBIT 1-B
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           | University
Tufts      "Chaplaincy


                                                                                  31 March 2025

   I first met Riimeysa Oztiirk in the fall of 2022. In my role as Catholic Chaplain at Tufts
  University, I direct Be-Friend, an interfaith friendship program, and that fall, Riimeysa
  signed up to be one of our graduate student Be-Frienders. At the beginning ofthis semester-
  long program, we ask each participant whether they prefer to be paired with a partner
  within their religious tradition or across tradition. Riimeysa requested to be paired with
  someone from another religious tradition. As I have come to know Riimeysa better in the
  intervening years, I have found this detail to align with her character. She is always eager to
  get to know people who are different from her. She values learning from them and shining a
  light on building meaningful connections through empathy.

  In the spring of 2024, Rimeysa emailed me and our University Chaplain, Elyse Nelson
  Winger, inviting us to collaborate on a new project. She was in the beginning stages of
  planning a gathering to honor the experience of children living in conflict and war. In the
  months that followed, we shared resources from different religious traditions, collecting
  poetry and art. The title of this event was: “Collective Grieving for Children Facing War and
  Conflict: Sharing Poetry, Art, and Stories for Children around the World.” The outline
  Rumeysa wrote for this program demonstrated her anguish at the suffering of others,
  specifically children. ] knew that the wide breadth of conflicts she acknowledged (Sudan,
  Gaza, Yemen, Congo, Ukraine, Syria, Uyghur) would be a balm for many attendees as so
  many of our students come to us from parts of the world that do not receive as much media
  attention as others. Her goal was to create connection and togetherness with a shared value
  of improving childhood and using stories and artistic expression to lift up the pain and
  wisdom of children. Even the title says so much about Riimeysa: “Collective Grieving”. She
  knows that we are better together. At her core, she is like connective tissue in our
  community. Her integration ofacademic study and practical application is noteworthy. She
  is not simply concerned about an intellectual exercise but how to utilize her expertise to
  affect those most in need.

  Rumeysa is a deeply humble human being. She is always aware of those around her, their
  needs and thinks about how she may serve and support them. In September 2024, she
  joined our team of volunteers for a weekly dinner shift at the Harvard Square Homeless
  Shelter. This shelter is a hub of education around housing insecurity in Boston, and
  Riimeysa served as a trusted and equipped graduate student who guided undergraduates in
  this work. We rely on such students to help lead at the shelter, as many of our younger
  students are unfamiliar with navigating off-campus engagements.

  In the fall of 2024, Rumeysa stepped into leadership to help restart our women’s fitness
  class at the Interfaith Center. We were in the midst of a job search for a new Muslim
  Chaplain, and with the freneticism of the new academic year, this program could have easily
  been tabled until January. Rtimeysa, however, knew how important this space was for her
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classmates and reached out to help us reconfigure the class. I was named the point person
on staff, and her contribution and support were central to this effort. She was keen to make
changes from last year to ensure that the program would be more accessible - logistics-wise
with more workout equipment and thinking ahead about how to use that blocked-off time
during the fast in Ramadan. At the last moment, on the afternoon of the first class, Riimeysa
suggested we adjust the time to accommodate others’ schedules—students who had only
just then expressed interest in joining. This might seem like a small gesture, but it shows
how her concern for others pours through her every interaction in our community.
Riimeysa Otiirk is a thoughtful and conscientious human being who has beenagift to Tufts
University. Her critical contributions to her field and our community cannot be overstated.
Her absence has caused deep anguish among so many whose lives she has touched. I urge
the court to please release Rimeysa Ostiirk and return her to her home and our shared
community.

I declare that the above statements are all true and correct to the best of my knowledge and
ability.




                        ——
Sincerely



           Yh
Lynn Cooper, D.Min
Associate Director of the University Chaplaincy and Catholic Chaplain
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        EXHIBIT 1-C
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                           SCHOOL OF ARTS AND SCIENCES

                          Eliot-Pearson Department of
                          Child Study and Human Development
April 1, 2025

Dear Honorable Immigration Judge:

My name is Sara K. Johnson. I am Associate Professor and Director of Graduate Studies in the
Eliot-Pearson Department of Child Study and Human Development at Tufts University and a
United States citizen. I am writing with the Strongest possible support of Rumeysa Ozturk; I
urge you to allow her to return to her home in Massachusetts and her studies at Tufts in order to
complete her innovative research and resume her career trajectory as an amazing young scholar.

I have been a member ofRumeysa's doctoral advising committee since she began her studies in
our program in September 2020. Initially, I was her secondary advisor. Since January 2023, I
have had the immense privilege of being her primary advisor. In that time, we have met nearly
every week for at least an hour, she works as a research assistant in my lab, and has also been a
student in several of my courses. In short, I have gotten to know Rumeysa extremely well, so I
have an abundance of examples to draw from to describe the quality of her character and the
thoughtfulness of her academic work, both of which are primary reasons why I believe she
should be allowed to remain in the United States to finish her doctorate.

I know that many, many other people are also submitting affidavits in support of Rumeysa that
will include countless examples, from virtually every comer of her life, of her many strengths
and positive qualities. That is why I want to focus this letter on Rumeysa' s dissertation, which I
have a unique window into as her primary academic advisor and which I believe represents not
only her research talent but also who she is as a person.

There is a saying among social scientists that "research is me-search": people are drawn to
studying things that are important to them personally. In my more than fifteen years of
supervising students as they develop their research interests, I have seen quite a bit of evidence
for that. When viewed from that perspective, it makes total sense that Rumeysa has been very
clear about her plan to do a dissertation on the topic of prosocial behavior: these are things that
a person does to benefit others rather than themselves.

Rumeysa's research on this topic is highly innovative and special because she wants to
investigate how young people's prosocial behavior can be facilitated by social media platforms,
which are more typically viewed as a setting that encourages self-centeredness. Her perspective
acknowledges that social media also has potential negative effects; but she-wants to make sure
that we really truly understand the complete picture around social media, both positive and
negative, before being able to make decisions about its role in young people's lives. Her choice
of this topic, and overall approach to it, reflect Rumeysa's overall level of thoughtfulness and her
clear desire to understand things from multiple points of view. These qualities have played a
main role in her success in our doctoral program and will facilitate her career as a productive and
influential researcher. Working with Rumeysa to develop the idea for her dissertation has
expanded my own thinking about prosocial behavior and how we promote it. The quality of her
research ideas has also been recognized by our department, which awarded her a prestigious
fellowship, and also by Tufts University itself, which awarded her a competitive Graduate

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                           SCHOOL OF ARTS AND SCIENCES

                           Eliot-Pearson Department of
                           Child Study and Human Development
Student Research Award to support her dissertation. Our program, and the discipline of
developmental science in general, is lucky to have a student such as Rumeysa, and she should be
allowed to remain in the United States to finish her degree.

Beyond its innovative nature, Romeysa's choice of research topic also aligns with the values
that she holds most closely: she is prosocial to the core of her being. I have seen her prosocial
nature constantly in my work with Rumeysa over the past five years; she always does things to
benefit other people, including those who may come from different backgrounds than she does.

I see her prosocial nature in her care for me as her advisor. She asks about how I am doing,
how my family is doing, and how my cats are doing (despite her being very allergic to them!).
When my mother moved from Kentucky to Boston last summer, Rumeysa gave me information
about senior events in the area that she knew from her volunteer work as well as people she knew
of similar age to my mother who might have shared interests. She has since spent many hours
talking with my mother, when they are both at my house for dinner, about visiting Turkey (the
number one country on my mom's travel bucket list!). All of my doctoral students (I currently
have four working with me, including Rumeysa) care about me, of course, but Rumeysa really
stands out in the level of care she shows for me as a person, not just an advisor, and the
thoughtful ways in which she shows it.

I see her prosocial nature in her care for the other students in my research group. In our
group meetings I hear about how Rumeysa has provided excellent feedback on their writing and
other aspects of their research, and how she has learned about all of their cultural traditions and
especially the food that is included in their celebrations. She takes excellent care of our shared
lab space, such as creating a tea station that she stocks with her favorite teas and others from the
list of favorites that she asks the other graduate students to contribute to. These are only a few
such examples, and I am sure that the letters from other students contain many more. Our lab
group would be significantly harmed if she were not allowed to return.

I see Rumeysa's prosocial nature in her care for everyone else in our department. Rumeysa
is an integral member of our larger departmental community who not only organizes events on
topics important to her (such as the welfare of children around the globe who are affected by
war) but also shows up and thoughtfully participates in events organized by other students and
the department. We can count on her active and thoughtful presence. I know that virtually every
faculty member in our department, as well as other students outside of my lab, have examples to
share of the ways that Rumeysa has made a positive difference in their lives. Our community
would be irreparably damaged if she were not allowed to return.

I know from others that Rumeysa's prosocial behavior extends outside of our department
to the larger university community and far beyond. I expect that many of the other affidavits
you will receive will contain myriad examples from those contexts, ranging from the university
Chaplaincy to other academic departments.


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                           SCHOOL OF ARTS AND SCIENCES

                           Eliot-Pearson Department of
                           Child Study and Human Development
In sum, Rumeysa is an innovative researcher of prosocial behavior, and she is the very epitome
of prosocial behavior herself. For those reasons, and many more, she should be allowed to
remain in the United States to complete her doctoral degree at Tufts. During her time in our
doctoral program, she has exceeded our expectations of and requirements for doctoral students,
and she has done so in a timely manner. Rumeysa is nearing the end of her program and is
entering the intensive dissertation phase. We require students to have a meeting at this point,
called the "qualifying review" and hers is scheduled to take place in early May. Rumeysa is well
prepared for the dissertation, and she is so enthusiastic about it. I am really looking forward to
seeing the innovative and rigorous research she produces.

Rumeysa has done everything right in terms of being a doctoral student and should absolutely be
allowed to return to her home in Massachusetts, and her place as a valued and integral member
of our community at Tufts, to complete her dissertation and her degree. I urge you, as strongly as
possible, to release her so that she may do so. I miss her very much.

I declare that the above statements are all true and correct to the best of my ability.

Sincerely,




Associate Professor
Director of Graduate Studies
Eliot-Pearson Department of Child Study and Human Development
Tufts University




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           EXHIBIT 1-D
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April 1, 2025

To Whom It May Concern:

I am writing in support of my esteemed colleague and dear friend, Rumeysa Öztürk. I have known
Rumeysa for two years. We first met when I visited the Tufts University campus as an admitted
student in February 2023, and we became lab mates and colleagues when I arrived on campus to
begin my doctoral program in August 2023. I urgently compel you to allow Rumeysa to return and
complete her doctoral studies at Tufts University, where she is an integral part of our scholarly and
social community.

Within the first few weeks of my time on campus, Rumeysa invited me to have coffee and go for a
walk with her, offering me a tour of various spaces around campus and asking me about my own
background and my early experiences in our doctoral program. Although I am several years her
senior, I immediately felt that she was not only a peer but could also be a source of wisdom and
comfort to me as I adjusted to life as a Tufts University student. It also became clear to me that her
work was both interesting and essential. As a former high school teacher, I am particularly interested
in her upcoming dissertation focused on how adolescents use social media in prosocial ways (e.g., to
help each other, connect, and build community).

Rumeysa is, herself, incredibly prosocial in our lab, department, and campus communities. Within
the lab, she is often the first to reply with helpful comments when a peer shares a piece of writing for
feedback, and she also shares her own work willingly as she seeks to develop her ideas. I have agreed
to be the second coder on her dissertation when data analysis begins; she also served as my second
coder for my thesis this spring, and her questions and insights greatly enriched the final product. In
addition to her scholarly input, each time that we host a lab event, not only does she make
extraordinary homemade dishes to share, but she also ensures that she brings something special for
those who have food allergies. (Her gluten-free, dairy-free almond cookies were a particular hit.)
And when I was dog-sitting for my sister’s small puppy and asked my lab mates if I could bring her
to campus, Rumeysa agreed despite a lifelong fear of dogs – and fell in love, asking when the puppy
could come back to visit again.

Beyond the lab, Rumeysa serves as both a formal teaching assistant and an informal mentor to others
within the department. Last week, after hearing of her detainment, a student came to the lab and
shared with me that she had provided him with the best advice he’d gotten on applying to doctoral
programs. And I know that Rumeysa is a linchpin in the Muslim community on campus: she invited
a group of our friends to join her for both a multifaith prayer and an iftar last year during Ramadan,
where I witnessed how beloved she is within that affinity group. We were scheduled to have an iftar
as a lab the same week that she was detained.

In short, Rumeysa is not only involved on campus, but she constantly seeks to bring together
disparate groups of people to connect. It is not lost on me that although I am a native Bostonian and a
domestic student, it is she who has played a far greater role in welcoming me to the Tufts
community.

I declare that the above statements are all true and correct to the best of my knowledge and ability.
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Mairéad O’Grady
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           EXHIBIT 1-E
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       ‘Lufts
        UNIVERSITY




March 30, 2025

I am writing this affidavit of support on behalf of Ms. Rumeysa Ozturk, a doctoral candidate in
the Eliot-Pearson Department of Child Study and Human Development at Tufts University. I am
an Associate Professor in the department, where I have taught for over 30 years.

I first met Ms. Ozturk on January 24, 2020, during an interview day hosted by our department for
applicants shortlisted for our doctoral program. Ms. Ozturk had applied to work with me on my
research in children’s media. I was immediately impressed by her background in psychology, her
interest in children’s media, and her commitment to supporting refugee children. After our initial
interview, I wrote in my evaluation, “Rumeysa is an outstanding applicant: she is very smart,
very engaged, and engaging...” I enthusiastically supported her admission to the program.

In March 2020, the COVID-19 pandemic led to a nationwide lockdown. As a result, I met
Rumeysa only via Zoom during the Fall 2020 semester. She served as a teaching assistant for my
introductory child development course. As a TA, Rumeysa was outstanding—kind,
approachable, and deeply attentive to the psychological needs of her students as we navigated the
challenges of the pandemic. Students in her section wrote glowing reviews, highlighting her
empathy, dedication, and commitment to their well-being.

In the Spring 2021 semester, while still in lockdown, Rumeysa co-taught a course with me
through the university’s GIFT program, a teacher training initiative for doctoral students. As a
GIFT fellow, she played a pivotal role in reshaping the course, integrating innovative
pedagogical technologies and contemporary teaching strategies. When she assumed the primary
teaching role for our course, Understanding Child Development Through Film, she demonstrated
exceptional scholarship, organization, and instructional design. Her lessons encouraged critical
self-reflection and meaningful discussion. Students deeply valued her warmth, engagement, and
investment in their learning experience.

During her first two years in the doctoral program, Rumeysa worked with me and several
colleagues as a research assistant on the Children’s Television Project, a longitudinal content
analysis of contemporary children’s cartoons. As a research assistant, she brought fresh energy to
the project and led successful efforts to present our work at academic conferences.

Ms. Ozturk deserves the highest accolades—both as a scholar and as a person. Academically, she
is deeply engaged, hardworking, and passionate about authentic representation in children’s

media. As an educator, she is engaging, informative, and fosters an inclusive, supportive learning
environment. Personally, she is of the highest character—kind, open-minded, and respectful of
diverse perspectives.

Over the years in our doctoral program, Rumeysa has built strong connections within multiple
communities. As a core member of a close-knit social and intellectual group, she actively
engages with fellow graduate students both academically and socially. Beyond the program,


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       ‘Lufts
        UNIVERSITY
Rumeysa plays a vital role in various interfaith groups on campus. Her deep ties to the
Department, Tufts University, and the Somerville community underscore the necessity of her
return to Massachusetts and release from detention. Given Rumeysa’s character and commitment
to her community, I can confidently attest that she does not pose a flight risk once reinstated in
her rightful place among us.

Rumeysa Ozturk is one of the most cherished members of our Eliot-Pearson community. She is
kind, curious, and genuinely invested in understanding other cultures. She has the potential to
become a leader in applied developmental science. Her deportation from the United States would
be a profound loss—not only to our department but to the entire Tufts community. Like many
others, I am devastated by Rumeysa’s detention and strongly advocate for her continued
presence in this country and in our program.

I declare that the above statements are true and correct to the best of my knowledge and ability.



Sincerely,

/s/ Calvin L. Gidney, Ph.D.

Associate Professor




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            EXHIBIT 1-F
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             Northeastern
             University


Ayse Reyyan Bilge Yildirim
01/04/2025

To Whom It May Concern,
It is my great honor to write this character affidavit in support of Rümeysa Öztürk, a dear friend and
former student, who is currently facing unjust detention by ICE despite being here on a valid visa and
having no criminal involvement whatsoever.
I have known Rümeysa for over a decade. She was one of my top students at Istanbul Sehir University,
where I taught as part of the psychology faculty. I later wrote her recommendation letters for the
prestigious Fulbright Scholarship, her Master’s at Columbia University, and her Ph.D. studies at Tufts
University. Throughout this time, we have remained close friends and colleagues, even co-authoring a
paper together on children's conceptualization of death, which was originally her undergraduate thesis.
Rümeysa is an extraordinary human being—intelligent, compassionate, dedicated, and deeply
respected by all who know her. Her passion for research and education is unmatched. She excels both
academically and socially, consistently impressing with her leadership, integrity, and empathy. During
her undergraduate research, she led a culturally sensitive and complex study on children's
understanding of death among refugee populations, coordinating a diverse team of research assistants
with professionalism and kindness. The project culminated in a successful presentation at an
international conference in the Netherlands and has been published.

Beyond her academic brilliance, Rümeysa is an integral member of our community. She speaks English
fluently and engages meaningfully with people from all walks of life. She has worked on multiple
initiatives aimed at enriching children's media literacy and development. Her warmth, inclusivity, and
generosity have made her beloved by friends, colleagues, and countless members of her extended
community.
Personally, Rümeysa is like family to us. My two children, now aged 12 and 16, consider her an older
sister. I have met her with my family many times and always appreciated her thoughtfulness—she
brings gifts, checks in regularly, and even follows up and cares how they are doing. She offered
invaluable guidance to my daughter during her current college application process, helping us find
resources and providing encouragement. Rümeysa is a role model for our children, and we are raising
them with a strong belief in freedom, justice, and civil rights. Watching Rümeysa be treated unfairly
and detained without cause has shaken those beliefs—not only for us as parents, but for our children,
who are now asking if these foundational ideals of America are truly being upheld.
Since her detainment on March 26, there has been an overwhelming outpouring of love and support. I
have received dozens of calls, emails, and texts from people eager to help her. Many of these
individuals are also here on valid visas and are now afraid to speak out due to fear of retaliation.
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Rümeysa’s situation has sent shockwaves through a law-abiding, peaceful community. Her absence is
deeply felt.

Rümeysa should return to her home in Boston, continue with her studies, have a chance to finish her
Ph.D., and be allowed to stay in the United States not only because she is innocent of any wrongdoing,
but because she represents the very best of what America stands for—intellect, compassion, diversity,
and service. Her contributions to academia, to children’s education, and to her community are
irreplaceable. She is someone to be celebrated, not targeted.
I declare that the above statements are true and correct to the best of my knowledge and ability.
Sincerely,
Ayse Reyyan Bilge Yildirim, Ph.D.



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           EXHIBIT 1-G
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April 1, 2025

To whom it may concern,

My name is Matthew N. Gee, I am a U.S. citizen, and I am a friend of Rümeysa Öztürk. I am
writing this affidavit to demonstrate Rümeysa’s character to the courts. From my letter, I hope it
is clear what a kind, caring, considerate, and hardworking person Rümeysa is. She is a cherished
friend who has contributed so much to my life and the life of our department.

I have known Rümeysa for over five years. We are in the same PhD cohort, meaning that we
started studying for our PhDs in Child Study and Human Development at the same time.
Rümeysa and I met in January of 2020; she was actually the first prospective student I met
during our Tufts University PhD interview day. During that day, I was a nervous wreck, but I was
drawn to talk to Rümeysa because of her radiant kindness, positivity, and enthusiasm for
research. She was so excited for the opportunity to study children’s media and how it contributes
to children’s mental health. She was also genuinely curious about my research interests, and in
our conversation, she affirmed that I deserved to be in that room and that my research interests
were important, despite my insecurities. Talking to Rümeysa calmed my nerves, and as fate
would have it, we would both be admitted to Tufts.

Since 2020, Rümeysa and I have studied and worked together in the Department of Child Study
and Human Development. She is a disciplined researcher who is committed to representing
children in their full humanity. Recently, Rümeysa and I have had weekly writing meetups where
we would work on our theoretical qualifying papers together. She has read hundreds of articles to
support her theoretical model regarding how social media may be a modality for developing
adolescents’ prosocial behaviors (i.e., voluntary acts of kindness, respect, and cooperation that
benefit others). Rümeysa recently received a Graduate Student Research Competition Award to
fund research that she plans to conduct this summer to test her theoretical model. In her proposed
project, Rümeysa plans not only to survey adolescents but also interview them about their
prosocial behaviors and social media use. To Rümeysa, research participants are not just numbers
on a survey; they are humans full of love and potential, and she is interested in what they are
thinking, feeling, dreaming, and navigating in their contexts.

Rümeysa’s humanizing perspective on children in her research extends to all of us who have the
honor of calling her a friend. Rümeysa is one of the kindest people I have ever met, and her
kindness manifests in small and large ways. Every morning, Rümeysa greets us in the lab and
asks us how we are, and when she asks, she truly wants to know how we are doing. Another
small act of her kindness is that she always opens the door for others and motions them through
with a smile. And yet another is that she always takes time to stop and catch up with people in
the hallways. Examples of her larger acts of kindness include sending me job postings every time
she becomes aware of opportunities that are related to my interests. One time, she informed me
of a competitive fellowship that she was also applying for— she does not have a competitive
bone in her body. In a very touching example, she asked me how my family celebrates Lunar
New Year, and then she brought in culturally appropriate treats to celebrate. Rümeysa never
wants to be an imposition to others, but she always goes above and beyond to help others and
make sure they feel respected and valued.
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Rümeysa is a beloved member of our department community. In our lab, there are four PhD
students, and she is so supportive of us. She always offers to read our writing, and she has given
me insightful feedback that has significantly improved my writing and thinking. She regularly
brings teas and baked goods to the lab to bring us comfort during times of stress. Rümeysa cares
so much about contributing to the community. She is a regular presence at community events,
especially those with a service component. Most recently, she and I made blankets for children
who are ill or otherwise seriously in need. We have also worked on a number of projects to bring
the department community together and offer space for collective healing. In one of these
projects, we secured funding, collaborated with a local youth arts organization, and facilitated the
creation of a community mosaic that all members of the department had a hand in. In each of
these events, Rümeysa has been so attentive to each person’s needs. Her considerate nature is
evident by her providing a variety of foods to meet various dietary restrictions, accommodations
for folks with disabilities, and various activities for people who process their emotions in
different ways. Again, her kindness and caring are truly extraordinary.

Rümeysa’s friendship has enriched my life in countless ways. She is an invaluable member of
our community, and her absence has been deeply felt. She is a dedicated scholar who truly cares
about supporting the well-being of all children. To Rümeysa, each child (and each of us) is
precious and deserving of respect and love, which she aims to provide in every single one of her
actions. I declare that the above statements are all true and correct to the best of my ability.

Sincerely,

/s/ Matthew N. Gee
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            Declaration of Elisa Guzman, dated April 2, 2025
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To Whom It May Concern,
I, Elisa Guzman, of legal age and citizen of the United States, wholeheartedly support Rumeysa
Ozturk’s case to remain in this country. I have had the privilege of knowing her for two years
after meeting her through friends in the Muslim Student Association (MSA) at Tufts University.
From the moment we met, her kindness, warmth, and dedication to her community were evident.
I can say with complete confidence that she is an individual with an exemplary character.
Rumeysa is the embodiment of inclusivity and compassion and is well loved in the community. I
have seen her greet everyone with a warm welcome and her infectious smile. I distinctly
remember one of my first MSA events – I knew only a few people and felt nervous. Being
greeted by Rumeysa and her calm presence instantly calmed my nerves. She introduced me to
others, making sure I felt included and comfortable, as she continued welcoming and saying
hello to other friends. Her kindness is unmatched and not performative; it is ingrained in her
character.
Beyond MSA gatherings, Rumeysa has invited me to tea parties, dinners, and graduation events
for her roommate in their home. One telling moment was when I accidentally dropped my cookie
at her house during one of the tea parties she was hosting, and without hesitation, she gave me
hers before getting herself another. It may seem like a small instance, but it’s the culmination of
these microevents that truly define a person’s character.
Outside of social gatherings, Rumeysa and I also attend a Fit and Strong workout class together.
Her encouragement and positive spirit make even the toughest exercises enjoyable. On days I
lacked motivation, knowing she would be there kept me accountable. Her soft-spoken demeanor
invites you in, makes you feel safe, and combined with her welcoming smile instantly washes
away any bad feelings of the day.
Rumeysa is not only a compassionate friend, but a dedicated scholar. She is currently pursuing
her doctoral degree in Child Study and Human Development at Tufts University where she
focuses on children’s and adolescents’ development in this media surrounded world, and the
positive impact their use can have on society. Her research is deeply relevant in today’s world
and has the potential to greatly and positively impact future generations. Her academic
excellence has earned her a Fulbright Scholarship, a prestigious award recognizing her
intellectual contributions by supporting her studies. She has also received a fellowship from the
department and the Graduate Institute for Teaching. She is incredibly humble about her
recognized impact and achievements – I only learned about these through a mutual friend.
Despite coming from a different cultural background, Rumeysa has fully immersed herself in the
American life. She speaks English fluently and actively engages with her community forming
strong friendships across cultures. Through our friendship, I have increased my understanding
and appreciation of different traditions, reinforcing the values of empathy and inclusion.
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Rumeysa’s presence in the U.S. is an asset to both her academic and social communities. Her
dedication to fostering meaningful connections, her impactful research, and her commitment to
spreading kindness makes her an invaluable part of this country. She values and fully believes in
cultivating joy and protecting others, especially children. I feel blessed to have met her and be
able to call her my friend. She fosters a positive environment that makes me want to be a better
person, and especially a better friend.
I strongly urge the court to release Rumeysa Ozturk and return her back her community in
Massachusetts. I also strongly encourage you to allow Rumeysa Ozturk to remain in the United
States. Her contributions and character demonstrate the values of kindness, peace, and respect
that we all should strive for. Her absence would not only leave a void in the lives of her friends
and colleagues but also deprive the community of a brilliant mind dedicated to making a
difference.
I declare that the above statements are true and correct to the best of my ability. If any further
information is required, please do not hesitate to contact me.
Sincerely,
     Recoverable Signature



 X Eluua Guzman
 Elisa Guzman

 Signed by: 4e1d0f63-705c-4749-8fbc-40000295b732
Elisa Guzman
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         UNIVERSITY
                                SCHOOL OF ARTS AND SCIENCES

                                Eliot-Pearson Department of
                                Child Study and Human Development


April 1, 2025

Letter of Support for Ms. Rumeysa Öztürk

TO WHOM IT MAY CONCERN:

I write to provide this affidavit of support for Ms. Rumeysa Öztürk, a Turkish international
student enrolled in our doctoral program here at Eliot-Pearson Department of Child Study and
Human Development (Eliot-Pearson) at Tufts University. I write as a citizen of the United
States, having been born here.

I write to advocate strenuously for a decision to allow Rumeysa to stay in the United States. As
my letter describes, Rumeysa is an individual, who through her interactions with others,
collaborations within communities, her learning as a student, and work as a scholar has made
important contributions during her time in the United States. These contributions are to the
functioning of communities (notably departmental academic community and peer community)
and as a developing scholar, to the literature.

I have known Rumeysa since fall, 2020, when she entered the doctoral program. I first met her
during our PhD admission interview day in January 2020. I have interacted with Rumeysa as an
instructor of a course that she took, “Cultural Sensitivity in Child and Family Research/Practice,”
and as an informal mentor. In the latter role, we have had numerous conversations about her
research interests in children and media, personal passion for the rights and needs of children
throughout the world, her sense of commitment to the Eliot-Pearson community, and her life
here in the United States. In short, I know Rumeysa well.

Rumeysa, as a person, is a gentle individual who carries herself with quiet passion for children
and compassion for all. During her time at Eliot-Pearson, she has made an indelible mark on our
community through these two qualities. I share just two examples. Two years ago, she co-led a
major effort in our department to engage students at all levels, faculty and staff in the creation of
a community mosaic that represented the values of our department. That mosaic hangs in our
lobby for all to see as they move through our space. Just last fall, Rumeysa spearheaded another
community activity dedicated to children who are caught up in traumatic situations (“Collective
Grieving for Children Facing War and Conflict: A Night for Poetry and Storytelling”). When she
sent me the flyer, asking me to share the news, she noted that she was co-organizing this with
two other doctoral students. However, the reality is that this was Rumeysa’s idea: she
approached me in spring semester, 2024, with this idea. I could tell how pained she was about
the experiences of children globally who face challenges and trauma in various ways. She was
explicitly clear that she wanted to help the Eliot-Pearson community develop an activity that was
for all children, not for certain children or children in certain parts of the world. We discussed
her initial ideas, and I offered my thoughts about how she might proceed. True to who she is,
Rumeysa brought in peer collaborators, who all worked seamlessly on this project that was so
deeply thoughtfully, meticulously and sensitively planned to ensure a safe space for those who
attended to experiences a shared reflective, creative, and productive space that promoted healing


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        UNIVERSITY
for all who attended. Also true to who Rumeysa is, she took no credit, instead, thanking her
collaborators and others who made important contributions to the activity.

Rumeysa, as a student, brings not only her compassion for others, but also her strong
intellectual curiosity to the learning experience. In my class, Rumeysa carefully listened to
others, asking questions that enabled her to understand others’ perspectives; she did so in deeply
respectful ways. As a result, others typically felt heard and seen by her, which helped them feel
validated as a person. Rumeysa’s academic work was very strong. She always came to class
well-prepared, having done the readings, crafted questions or points that she offered in class
discussions. In her written work and class discussions, she demonstrated her ability to critically
think and evaluate material, often elevating the conversation and contributing to other students
and my own learning.

Rumeysa, as a scholar, is deeply committed to developing her skills in disseminating her ideas.
Rumeysa took the highly unusual step of developing the final assignment for the course I taught
into a manuscript that she successfully published (Ozturk, R. 2023. Representation of refugee
characters and experiences in children’s animated television: missed opportunities and hopes.
Journal of Children and Media). This article reflected her ability to translate what she learned
into published recommendations for ways to improve children’s media. No other student has
ever taken this step in my over 30 years of teaching this class.

Rumeysa, as a peer among graduate students, has actively encouraged her fellow students to
move along in their graduate programs, celebrating their achievement of particular milestones
and honoring and encouraging them when they have self-doubts. Several of my advisees have
reflected on the ways in which she touched them during their time here in Eliot-Pearson. In her
role as a peer student, Rumeysa has been invaluable – quietly so – to the fabric of the graduate
student community. Her absence has struck a deep void in the student community.

My last point is to provide some critically important context for understanding Rumeysa. She
lives with daily prejudice and bias about her faith and her faith practices (including wearing
hijab), from verbal harassment to physical harassment. She rarely talks about these experiences
and her deep disappointment that she has not felt supported or understood by officials whom she
contacted about some of these experiences. Can you imagine the person I have described having
to navigate these realities? It is in this context that Rumeysa engages in community spaces
where she can offer and find support in the pursuit of a better world.

In sum, Rumeysa Öztürk makes everyone around her a better person; she is an essential member
of the Tufts community. We need her back. I urge that the courts return Rumeysa Öztürk to our
community. I declare that the above statements are all true and correct to the best of my ability.

Sincerely,
Thum Qrndenfengther,
Ellen E. Pinderhughes PhD
Professor of Child Study and Human Development




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                                                                            Najiba Akbar

                                                                            March 30, 2025


Subject: Affidavit Letter of Support for Rumeysa Ozturk

To Whom It May Concern,

I am writing this letter in strong support of Rumeysa Ozturk. I served as the Muslim Chaplain at
Tufts University from 2021-2024 and first met Rumeysa during my initial academic year. From our
earliest conversations, it was clear to me that she was an engaged and thoughtful member of the
Tufts community. She spoke highly of her experience as a Tufts student and expressed a deep
desire to foster a greater sense of belonging amongst Muslim and international graduate students
on campus. This shared vision led us to begin meeting regularly, and over the next three years, we
collaborated closely, organizing a variety of gatherings—dinners, social events, and community
discussions—held at the Tufts Interfaith Center. These events provided a warm, welcoming space
for graduate students to connect and support one another. Rumeysa was always willing to step up
to help organize the event, prepare food, or co-lead a discussion.

Rumeysa has always struck me as a deeply compassionate and conscientious individual. She listens
with care, considers diverse perspectives, and approaches others with kindness and humility. She
was not only an active participant in our community initiatives but also one of the first to step up
in service—whether by helping to prepare meals, welcoming new students, or staying late to clean
up after events. Her intelligence, maturity, and generosity made her a pillar of our graduate
student community. Undergraduates at Tufts describe her as having the presence of an “older
sister” who took them under her wing and offered unconditional love and support.

Beyond her contributions at Tufts, I know Rumeysa has a deep passion for children's literature and
aspires to become a children’s book author—driven by her belief in the power of storytelling to
inspire and uplift young minds. Rumeysa is precisely the kind of student we should be welcoming
and supporting in the United States. As a Fulbright scholar, she has demonstrated exceptional
academic merit and has been highly regarded by her professors and peers. She deserves the
opportunity to complete her education at Tufts.

I know Rumeysa was excited about being at the end of her PhD journey, after all of the hard work
and long hours she has put into this endeavor. She was almost at the finish line! I respectfully ask
that she be allowed to return to the state of Massachusetts to complete her PhD program in Child
Study and Human Development.

I declare that the above statements are all true and correct to the best of my ability.
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Sincerely,

/s/Najiba Akbar___________________________
Najiba Akbar
U.S. Citizen, Born November 5, 1981 in New York, NY
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           EXHIBIT 1-K
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April 1, 2025

To Whom it May Concern,

My name is Alison Campion, I am a third year PhD student at Tufts University writing this
letter in support of Rumeysa Ozturk.

I have met Rumeysa several times through the Tufts graduate student community. Most
memorably, I attended an interfaith Iftar event sponsored by the Muslim Students
Association and Tufts Chaplaincy with her on March 12, 2024. I had gone to the event with
a mutual friend and ended up spending much of the evening with Rumeysa. Rumeysa was
warm, friendly, and quick to smile. She was clearly a valued member of the Muslim
student community, but also made me, a Catholic who did not know many people there,
feel incredibly valued and welcomed. She patiently answered my questions about
Ramadan and introduced me to each new person that came over to squeeze around our
table. She showed the same genuine kindness to each person that joined our group, no
matter how well she knew them.

That Iftar dinner and Rumeysa’s generous spirit perfectly reﬂected how she invests in her
religious community while also extending support, respect, and kindness to the wider
community. To me, Rumeysa’s ability to express her own cultural and religious views while
accepting, respecting, and celebrating others’ is the true embodiment of American values.

Every time I have crossed paths with Rumeysa since that Iftar dinner, she has lifted my
spirits with her friendly smile and kind words. I always knew her to be hard working and
studious, and a good, dependable, caring friend. She is a valued member of the Tufts
graduate student community and I look forward to seeing her back on campus where she
very much belongs.

I can personally attest to the fact that Rumeysa has actively improved the experience of
myself and other students at Tufts. I urge the courts to release Rumeysa and return her to
her community at Tufts University, so she can continue to make a positive impact on her
colleagues, students, teachers, and friends.

I declare that the above statements are all true and correct to the best of my ability.

Alison Campion
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Tufts                   Eliot-Pearson Department of
                        Child Study and Human Development

                                                                                   March 31, 2025

To Whom it May Concern,

         I am writing a letter of emphatic support for Rumeysa Öztürk to implore that she be
released, returned to her community, and allowed to stay in the United States through the
completion of her doctoral program at Tufts University. I am a Professor of Child Study and
Human Development, Faculty Affairs Coordinator, and Director of the Ensuring eXperiences for
Children’s Early Learning Success (ExCELS) lab at Tufts University. I currently serve as
Rumeysa’s second advisor in the doctoral program and have been meeting with her formally
once or twice each semester over the last couple of years to support her work. Rumeysa’s
research area of interest centers on children’s and adolescents’ positive development in a media-
embedded, digitally connected global world. Her dissertation will investigate how adolescents
and young adults use social media in prosocial ways. This theme of positive youth development
is entirely consistent with Rumeysa’s character and aligns with her personal values of care, hope,
and compassion.
         Since the beginning of her time in the Eliot-Pearson Department of Child Study and
Human Development, Rumeysa has stood out for these qualities and has contributed greatly to
the heart and soul of our department. Based on conversations with her about her work in the
DICE lab, she’s that wonderful combination of an independent scholar and collaborative team
player! In our meetings together to discuss progress in her work, she has demonstrated a strong
work ethic, great attention to detail, always asks astute questions, and immediately adjusts based
on the feedback she receives. She is a strong writer and takes the initiative to learn what she
needs to learn to make progress toward her goals. I have witnessed her professional growth and
the increasing sophistication of the questions she is asking, especially regarding the best ways to
support positive youth development through social media. Rumeysa shows her eagerness to learn
by taking the initiative to find opportunities to develop professionally and intellectually, whether
it be through attending and presenting at professional conferences or serving as a teaching
assistant or mentor to other students in the department. She has also shown the highest level of
professionalism by always maintaining clear communication and connection with her advisors
and peers. Rumeysa will be an invaluable contributor to any research team or in any field setting
in the future and will be a critical leader in any context she chooses for her next professional
home.
         Rumeysa’s pleasant and collaborative demeanor, professional work ethic, intellectual
curiosity, and thoughtful interactions with faculty and students all make her an important
member of our department and a role model for the other graduate and undergraduate students.
She is, quite simply, one of the most earnest and compassionate students I’ve ever known in my
22 years as a professor. Rumeysa, as you’ve no doubt learned from others, is a deeply valued
member of other Tufts communities as well, including those formed through the Tufts University
Chaplaincy. As a recent article states, “Her leadership as a graduate student with different life
experiences and practical wisdom has been a profound gift for the undergraduate students on the
Medford campus–for both Muslim students and students from other religious and philosophical
traditions.” Rumeysa is one of the most caring, humble, and inclusive people I know. We all
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Tufts Eliot-Pearson Department of
                        SCHOOL OF ARTS AND SCIENCES



                        Child Study and Human Development
miss her so much, and just want her returned to our Tufts community, so that we can embrace
her again and benefit from her sweet, sweet spirit.

        Rumeysa’s professional and interpersonal skills, intellectual curiosity, writing and
analytic capabilities, and commitment to creating communities of care make her an essential
member of our department and the larger Tufts community. Though I have known her only a
short while, Rumeysa’s professional dedication and intellectual ability can be seen in every
course, leadership, and research task she is given. But, perhaps above all, her contribution to the
soul of our community is what we miss most. I sincerely hope that those reading this letter will
give her case the most positive consideration and release and return her to us as soon as possible.
She is mere months from completing her PhD program and will honor that privilege by putting
the best developmental science, guided by her commitments to inclusion and equity, out into the
world. Please let me know if I can provide any additional information in support of Rumeysa
Öztürk. I declare that the above statements are all true and correct to the best of my ability.


Sincerely,




Christine McWayne, Ph.D.
Professor
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                      Tu         fts              SCHOOL OF ARTS AND SCIENCES
                       UNIVERSITY
                                                  Eliot-Pearson Department of Child Study and Human
                                                  Development




March 30, 2025

To Whom It May Concern:

Rumeysa Ozturk was a student in two of my classes, and she was the teaching assistant for three courses I
taught. In the Fall of 2020 she took my graduate seminar (CSHD 267) in which she received an A. She
audited my Creating Children’s Media class in the spring of 2021 but attended every single class and did
every single assignment although she did not take the course for credit – she was simply interested in
furthering her knowledge and experience in the area of children’s media.

In the fall of 2022, Rumeysa was the TA for CSHD 167, Children and Mass Media. In the spring of 2023,
she was the TA for both CHD 169, Creating Children’s Media, and CSHD 113, Media Literacy. In each
instance Rumeysa went above and beyond anything I asked of her. She was always willing to set up
separate office hours and meet with students individually outside of class to clarify any questions, help
them frame assignments, or just to chat. In each of these classes, I turned part of one session over to
Rumeysa to teach. She was always well-prepared and engaging. And memorable. Just yesterday I heard
from a student from Creating Children’s Media from 2023, who stated that Rumeysa’s work about low
income and refugee children in media had inspired her own senior honors thesis that she is now
completing.

When Rumeysa took my graduate seminar, we were in the height of Covid and the entire semester was
online. This class met once a week. There was one day early in the semester that was Rosh Hashanah, the
Jewish New Year. I explained to the class that we would not meet that day since I would be celebrating
with my family. Rumeysa, always curious about others and sincerely interested in learning about different
faith traditions, asked me what I would be doing to celebrate. And when I explained that part of my
family tradition was to bake my grandmother’s honey cake, Rumeysa immediately asked for the recipe.

Rumeysa is someone who always prefaces her queries with the phrase, “May I kindly ask that…” To me,
this is the essence of who she is: someone who never wishes to impose herself on others, someone who is
extremely considerate, someone who cares about engaging with and learning about the world.

When my father passed away last winter, the first person I heard from was Rumeysa. This was no
surprise. She is, and has always been, someone who cares deeply about those around her. Her peers and
her professors know Rumeysa to be a thoughtful and compassionate person, someone who has made a
difference in our lives, someone who cares profoundly about children and families. I have greatly valued
having her kind, competent and interculturally aware presence as a student and as a teaching assistant.
She is an integral part of the fabric that is our community in the Eliot-Pearson Department of Child
Development.
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Sincerely,



Dr. Julie Dobrow
Distinguished Senior Lecturer

I declare that the above statements are all true and correct to the best of my knowledge and
ability.
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                             SCHOOL OF ARTS AND SCIENCES
                             ___________________________

                             Eliot-Pearson Department of Child Study and
                             Human Development

                                                          March 30th, 2025
To Whom It May Concern

         I have known Rumeysa since started her PhD program in Applied Child Development in
our department. At that time, I knew her as a member of our student community. In Spring 2021,
Rumeysa took my course on “Qualitative Research Methods” and I got to know her well, both as
a person and as a student. I observed her intelligence, her deep interest in learning, her
commitment to conducting well-designed research, and her dedication to serving children and
families. As part of the requirements of this course, Rumeysa completed a small pilot research
project that involved analyzing stories written by young adults as they recalled significant events
in their childhood. I remember being most impressed with Rumeysa’s attention to detail and her
sensitivity to the diverse backgrounds of the young adults. She is a very thoughtful and
introspective person, who pays careful attention to all individuals with whom she interacts.

       Rumeysa spends much of her time in the department, working in Professor Sara
Johnson’s lab, which is near the main corridor of our department building. I see and interact with
Rumeysa regularly, as she has a kind and pleasant demeanor and always greets everyone with a
smile on her face. She is very respectful, warm, and friendly. She is also a very active member of
our department community. She has served on student committees, has volunteered and helped
out with event planning and engages in all department gatherings and events.

        Rumeysa has also served as a Teaching Assistant for several courses, and many of my
undergraduate advisees mention that she is always willing to go out of her way to answer their
questions and provide supportive and encouraging assistance. Last year, Rumeysa was an active
member of a group of students who created a mosaic with an artist from the community that
represents the all-encompassing spirit of community and unity that we value very deeply in our
department. Rumeysa is known, not only in our department, but also within the larger Tufts
community, through her involvement with graduate students in other departments, with members
of the Chaplaincy at Tufts, and in community organizations in the neighboring areas. Our
department and university community are eager to have Rumeysa back in Somerville, back on
campus, and in our department. She is an integral and active member of our community.

I declare that the above statements are all true and correct to the best of my knowledge.

Sincerely,




Jayanthi Mistry, Ph.D.
Professor of Child Study & Human Development
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           EXHIBIT 1-O
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Tufts Eliot-Pearson Department of
                            SCHOOL OF ARTS AND SCIENCES



                            Child Study and Human Development
April 1, 2025

To Whom it May Concern:

I am a U.S. citizen and member of the faculty teaching in the Eliot-Pearson Department of Child
Development at Tufts University. This letter is a letter of support for Rumeysa Ozturk, written with the
hope that she will be returned very soon to continue her good work in our department and be the kind
and caring person we all know and admire.

I first met Rumeysa four years ago when she joined a group of students and myself to put together an
anti-racism poetry festival – an event that had students and faculty performing their poetry. In the
many meetings preparing for this event, I was struck by Rumeysa’s gentle and kind nature. It was
immediately obvious that she cared about anyone’s suffering and wished to do what she could to
reduce that suffering – in soft and kind ways.

More recently, I joined a group that Rumeysa and other students hosted to express support for children
suffering from war. We gathered to share in different ways (through music, poetry, weaving, and more)
– all expressions of how children have been suffering because of war. Again, this was no loud and
aggressive protest. Rather, it was a way the group could feel together and be empowered to do what we
can to lessen the impact of war on children. In many ways, the gathering and ways of expressing
encapsulated Rumeysa’s ways of showing care.

Finally, though I don’t work closely with Rumeysa, every time we pass in the hallway or converse at a
community event, I am struck once again by her kind and gentle nature. She is the real deal when it
comes to caring for others. We should all be more like Rumeysa.

I hope these comments contribute to the collective picture of Rumeysa as a person who deserves to not
only remain in the U.S. and to return to campus to work on her Ph.D surrounded by the support of the
Tuft’s community, but also deserves our admiration for her kind and caring nature and her devotion to
lessening the pain and suffering of others, especially children.

I declare that the above statements are all true and correct to the best of my knowledge and ability.

Sincerely,


 Ange. Acasll
VW
W. George Scarlett, Ph.D.

Distinguished Senior Lecturer and Tisch Sr.Fellow

Eliot-Pearson Department of Child Study and Human Development




105 College Avenue, Medford, MA 02155 | TEL: 617.627.3355 | FAX: 617.627.3503 | http://ase.tufts.edu/epcshd
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            EXHIBIT 1-P
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Tuesday, April 1 2025

My name is Sam Alterman. I am a PhD student in Physics at Tufts University. I've known
ROmeysa OztOrk for about two years, both in my capacity as a steward of the Tufts
University Graduate Worker's Union and as a personal friend. ROmeysa is a gentle,
intelligent, caring person and a valued member of our community. I believe very firmly she
should be allowed to remain in the United States.

I first met ROmeysa in Summer 2023 when our graduate student union was trying to talk to
graduate students in the Child Studies and Human Development department to better
understand their working conditions. The first time I walked into the Child Studies and
Human Development offices, it was immediately clear how central ROmeysa was and is to
the culture of that department. She warmly greets everyone by name every morning, and
always makes time to genuinely listen to her coworkers talking about their day. I continue
to be struck by the depth and sincerity of her relationships with her coworkers. ROmeysa's
involvement in our union has been vital, making connections with her coworkers and giving
them space to advocate for their needs. After running into each other at several interfaith
events, where she always brings her deep respect for and curiosity about other spiritual
and religious traditions, I became lucky enough to call ROmeysa a friend.

I strongly believe that ROmeysa OztOrk should be allowed to remain in the United States.
ROmeysa is one of the kindest, gentlest, and most compassionate people I have ever had
the pleasure to meet. Her passion for teaching and natural curiosity has made her well­
known at Tufts as an excellent Teaching Assistant whose courses are highly sought by
students. Within the graduate student community, ROmeysa is always a quiet but
persistent voice for kindness, mutual understanding, and care. Our community is not
whole without her here. I urgently request that the Court allow ROmeysa to be returned to
Massachusetts and released on bail so she can be with the community that cares for her
and finish her doctoral studies.

I declare that the above statements are all true and correct to the best of my ability.




   �  fn. 6— Lfe—
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           EXHIBIT 1-Q
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                                                                                          March 31st, 2025


To whom it may concern,

I am writing to you to describe the gentle and caring nature of Rumeysa Ozturk and to ask that she be
allowed to stay in Somerville, Massachusetts.

I met Rumeysa in February 2022 when I was interviewing for my doctoral program at Tufts. The
interviews that year were held on zoom and Rumeysa had the difficult job of facilitating a room full of
nervous applicants, which she did with grace. Within her first few sentences on that zoom call, I was
soothed by her kind greetings and smiles, then immediately impressed with her scholarship and passion
for research on children’s media. Even before meeting her in person, I felt Rumeysa warmth. In the three
years I have been privileged to know her since, she has continued to amaze me with her integrity, care,
and love for her family.

When I had to take some time off from school to care for my mom, Rumeysa was checking in on me and
reminding me of how much I was missed in our lab. For each of our lab members' birthdays, she stayed
up late baking a treat that reminded her of us. When I was new to Tufts, she went out of her way to have
lunch and coffee with me. These are just a few of the instances that demonstrate Rumeysa’s commitment
to her friends and peers.

Rumeysa cares deeply about helping children. We bonded over how much we love the children’s show
Bluey, a show featuring a family of Australian shepherds, particularly because of the way it can help kids
process big emotions such as grief or as small as cleaning up toys. Whenever Rumeysa and I talked about
Bluey, her face lit up with positivity and radiance. We would giggle at the events of the newest episodes
and talk about our favorite moments.

Last year, Rumeysa cared so deeply for children affected by wars all over the world, so she organized a
community art night at the interfaith center at Tufts. Prior to the event, Rumeysa spent hours organizing
the event, crafting a budget for a community quilt to process grief, and went from store to store to find
necessary supplies. Rumeysa’s organizing helped Tufts students and faculty members come together to
grieve children affected by wars through poem reading, song singing, and art making. I will carry that
memory of mutual care in my heart as I continue to channel Rumeysa’s deep commitment to morality
through both my scholarship and personal life.

To know Rumeysa is to love Rumeysa. Rumeysa is a valuable member of the community, scholar, and,
most importantly, friend. I urge you to allow her to stay in the Somerville community.

Warm regards,
SooYun Byeon
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           EXHIBIT 1-R
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Garcia


April 2, 2025

         I met Rumeysa three years ago when we were paired as co-teaching assistants

during the first semester of my PhD program at Tufts. She was very kind to me even though I

was visibly nervous about starting grad school after taking several years away from

academia. Rumeysa always asked for my input on our projects and made sure I felt

included. During that first semester, we took an autumnal walk around Cambridge, treating

ourselves to cookies from the local bakery. Our new friendship helped me to adjust to my

life here at Tufts and as a grad student. Rumeysa's warm presence makes her the type of

person you want around when you feel nervous or alone.

         During our time as co-teaching assistants, Rumeysa's schedule allowed her to be in

the class more than me, and as a result, students often felt more comfortable emailing her

over me. I noticed Rumeysa always worked diligently to keep up with their questions and

requests. Her hard work and attention to our students was an amazing model for me as a

new PhD student.

         Last year, Rumeysa and I attended the Graduate Student Council awards in support

our friend and PhD colleague Matt, who was receiving an award that year. Rumeysa always

advocates to make sure everyone is recognized for their accomplishments, big and small.

Her positivity has a powerful impact on our department, shining through her kindness to all

and her resounding encouragement, and celebration of everyone's achievements.

         During a weekend-long writing retreat organized by the PhD students, Rumeysa

helped with every chore - from getting set up, to cooking, to cleaning up. She was always

asking how she could be of service, and ensured we were respectful of the cleaning rules
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Garcia


when we were putting everything away. In the years I have known Rumeysa, I have noticed

that she is consistently thoughtful and mindful, always taking care not to disrupt the

spaces she is in or disturb the people she is with. Her thoughtfulness extends beyond

those in her immediate proximity - she always asks after my pets and loved ones.

         During the writing retreat, we unexpectedly lost power and because we were in

relatively isolated cabin, some of the students felt freaked out about the unfamiliar

circumstances. We found candles and gathered around the dining room table together.

Rumeysa led us through positive affirmations for PhD students, speaking aloud intentions

such as, "I know what it takes to successfully complete scholarly work" and "It is okay to

make mistakes because I always learn from them." After she spoke each affirmation, we all

repeated it back to her. Through her guidance, she transformed the space from something

uncertain and scary into a supportive and safe environment.

         Rumeysa loves animals. Unaware that she had such a bad allergy to cats, I invited

her over to meet my new kitten, and she came over gladly. When she started to have

allergic reactions after playing with the kitten, she did not complain. Instead, I heard her in

the bathroom splashing water on her face to soothe her allergy-induced irritated eyes. It

was clear that she wanted to keep the visit fun and not ruin the mood with her allergic

reaction. I insisted that we leave the kitten alone and hang out outside, even though she

said she was enjoying herself. Rumeysa is a team player, and not a complainer, even when

it comes to enjoying the company of furry creatures she is allergic to.

         Rumeysa has the biggest heart of anyone I know. The last text she sent me was a

book recommendation for a children's book called "Just What To Do", described as a tender
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Garcia


children's book on processing grief, which I've read to process my own sense of loss in her

absence. She has always been interested in helping others, but especially children,

process big emotions - it's a topic we have discussed extensively, touching on subjects

such as gentle parenting and positive youth development.

           Rumeysa and I recently got dinner together and talked about the struggles of

maintaining our health while trying to stay on top of multiple deadlines in a PhD program. I

bought her a special collagen smoothie because we were joking about wanting to reduce

our stress and maintain youthful skin. She told me that she would be happy to join me for a

gym date in the future, but we never got around to it.

           I am asking the court to please return Rumeysa to her home in Massachusetts. She

is a dear friend, and has shown me support with her encouragement and gentle positivity.

She has a strong community here, and many, many people who miss her.

           I declare that all the above statements are all true and correct to the best of my

ability.



           /s/ Lucinda Garcia

           Lucinda Garcia

           US Citizen
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            EXHIBIT 1-S
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April 1, 2025

To whom it may concern,

I first met Rumeysa Ozturk during my freshman year at Tufts University at a Muslim Student
Association (MSA) event. We were introduced by my friend, who was Rumeysa’s roommate at
the time. Now a junior at Tufts, I’ve had the privilege of knowing Rumeysa for the past three
years.

In that time, I’ve come to know Rumeysa as one of the most compassionate, gentle, and caring
individuals. Our former Muslim chaplain, Najiba Akbar, once described Rumeysa as having an
“angelic presence” in our community, and I couldn't agree more. I would regularly see
Rumeysa at MSA events—whether it was Friday prayers, iftars, or casual gatherings. Without
fail, every time I saw her, she would greet me warmly with a hug, ask about my family, and
genuinely check in on how I was doing in class. Her deep, authentic curiosity about others was
extended to so many members of our community.

What stood out most was Rumeysa’s unwavering kindness and desire to serve others. Despite
not holding a leadership role in the MSA, she consistently volunteered to help—often serving
food at our crowded iftars even though she was fasting all day herself. Her actions reflect a
selfless heart and a desire to uplift others before thinking of her own needs. Her selfnesses
along with her warmth made Rumeysa a pillar in our community and source of comfort for
many.

Rumeysa is also an exceptionally bright and accomplished young woman. She earned a
master’s degree in Developmental and Child Psychology from Columbia University and is
currently pursuing a PhD in Child Studies and Human Development at Tufts—two highly
prestigious programs that speak to her academic excellence. Achieving this as an international
student and non-native English speaker is a testament to Rumeysa’s dedication, intelligence,
and perseverance. Additionally, Rumeysa is a Fulbright Scholar and illustrator of the children’s
book The Tale of Ibrahim Ibn Adham, written by her friend and fellow graduate student at
Columbia.

Rumeysa is not your average woman. She is talented, driven, and deeply filled with
compassion. Her energy has touched many of us in the MSA and wider Tufts community. Since
her absence, many of us who have known her personally have felt a deep void. It has been
difficult to continue with our daily lives while our thoughts and hearts are with our dear
Rumeysa.

I urge you to consider the profound positive impact Rumeysa has had on those around her,
and how devastating her absence has been to our community. Rumeysa does not deserve to
be detained—she deserves to be here, where she has built a home and a community that
values and needs her. She is not only a friend but a source of light, strength, and inspiration to
many. I strongly urge you to allow her to remain in the United States so she can continue her
studies and contribute positively to the lives of those around her, as she has always done.

I declare the above statements are true and correct to the best of my ability.

Sincerely,
Rola Kazaer
/s/ Rola Kazaer
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                                                 Assistant Professor of Computer Science,
                                                                          Tufts University

To whom it may concern,

My name is Saeed Mehraban, and I am an Assistant Professor of Computer Science at
Tufts University. I have known Rümeysa Öztürk since March 2023 through the Muslim
Student Association (MSA) community Iftar. When she learned I am a faculty at the
university, she respectfully approached me to invite me to participate in a special Iftar
for graduate students she and her friends were participating. This made me feel
specially welcomed. From our very first interaction, I found her to be kind, humble, and
full of positive energy and respect. Since then, I have seen her frequently at Islamic
events at Tufts University or around
campus.

I cannot emphasize enough her caring and admirable character. Every time I have seen
her, she has approached others with a warm smile and genuine kindness. She is a great
listener who makes people feel understood and always ensures that those around her
are doing well. At the Iftar events, she consistently helped with setting up, serving food,
and cleaning afterward. Rümeysa communicates clearly in English and easily connects
with others. I know she deeply values her education and was hoping to complete her
PhD soon and take the next step in her life journey.

Her strong and compassionate presence has helped bring our community together.
Everyone I know is deeply saddened by what has happened, and we all miss her dearly.
Our community is not the same without her. I sincerely hope she can return to our
community, finish her degree, and flourish in every step she takes afterward. I declare
that the above statements are true and correct to the best of my knowledge and ability.

                                                                                   Sincerely

                                                                       /s/ Saeed Mehraban
                                                                               April 1, 2025
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                               SCHOOL OF ARTS AND SCIENCES
        UNIVERSITY

                               Eliot-Pearson Department of
                               Child Study and Human Development


March 30, 2025

To Whom It May Concern:

My name is Tama Leventhal, and I am Professor and Chair of the Eliot-Pearson Department of
Child Study and Human Development. I am writing this highest letter of support for Rumeysa
Öztürk. I have been most fortunate to know Rumeysa since September 2020, when she enrolled
in our doctoral program. I was the Director of Graduate Studies at that time. Since then, I have
served on committees with Rumeysa, attended events she organized, and interacted with her
informally on numerous occasions. Most recently, I was asked to be on her upcoming doctoral
committee. Thus, I have had extensive opportunities to interact with Rumeysa and can attest
with the utmost confidence that she is someone of the absolute highest character.

All first- and second-year doctoral students are required to take the Doctoral Proseminar, which I
taught the year Rumeysa entered our doctoral program. That year there were ten students in the
course, providing ample opportunity to observe her. From the start, Rumeysa stood out as a
curious and motivated student as well as a true community-builder despite her soft-spoken
manner. She was highly regarded by her peers and faculty alike who joined the seminar on a
regular basis. It was here that I learned about her interest in children and media and the work she
hoped to accomplish over the course of her doctoral studies.

Consistent with the role she played in the Doctoral Proseminar, Rumeysa became a leader in our
department’s student-led Belonging Committee—a committee intended to create an inclusive
community where all members feel valued. Through this committee, she organized many
events designed to do just that. Two examples standout. Before describing these events, I will
note that as Department Chair, we depend on our graduate students to play an active role in our
community by organizing events, serving on committees, assisting with admissions recruitment,
etc. It is only a handful of students, however, who typically take the lead in assuming these
roles. Accordingly, Rumeysa is one of these students upon whom our department has come to
depend.

The first event is the Beautiful Stuff project held during the Spring of 2023. Rumeysa played a
key role in the development and creation of a mosaic representing the values of the department,
including a more equitable, inclusive, and just department. That mosaic, so-created by many
members of our community (e.g., undergraduate and graduate students, faculty, staff, and
children from the Eliot-Pearson Children’s School), now holds a prominent place in our building
for all visitors to see. It is a testament to the values she brings to our community.
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The second event this past Fall was entitled, Collective Grieving for Children Facing War and
Conflict, and entailed poetry and quilting. Very tellingly, it was held at the Interfaith Center and
was intended to address concerns for children in conflict globally. Here was how Rumeysa
expressed her gratitude to the participants, “I am grateful for everyone who gathered to listen and
offer pieces of grief and love for the children. Your presence, songs, poems, words, art, and time
means a lot. It is heavy sadness that we held this event due to the loss and impact on so many
children and families (since our program started, especially last year and this year). I appreciate
that we could all dedicate at least a few hours to remembering those children often overlook. I
value the compassionate space we offered each other, a rare opportunity for the genuine
connections we sometimes miss in academic settings.” Rumeysa’s remarks capture her own
compassion for children, generosity of spirit, and commitment to justice through the arts in this
case.

Rumeysa’s active role as a leader and community-builder meant she volunteered to serve on
other committees as well. In Fall of 2022, she was the student representative on a faculty search
committee. I had the pleasure of being on her interview team. Rumeysa acted with the highest
professionalism and demonstrated respect and kindness for the numerous candidates we
interviewed. It was an absolute joy to work with her, and we established a closer relationship
afterwards. Rumeysa and I often talked about cooking, travels, exercise, etc. It was hard to pass
her in the hallways without exchanging a few pleasantries. The department is not the same
without Rumeysa’s steady presence. As someone so devoted to creating a sense of belonging,
Rumeysa belongs back in Massachusetts and here at Tufts to rejoin our Eliot-Pearson
community, where she is a most valued member.

One incident that I recall most poignantly is when I sought advice from her about an upcoming
family vacation to Turkey in Summer 2024. Rumeysa was full of advice and offered to host me,
but unfortunately our schedules did not align. When we returned in the fall, she told me my trip
had inspired her to go to Cappadocia, a part of her country to which she had never been. Unlike
me, she was too afraid to go up in a hot air ballon, which is a common activity there, because she
was too scared. I think of that now and it only reinforces my concern for her welfare.

In terms of her scholarship, Rumeysa received the prestigious Evan’s Literacy Fellowship to
support her research on children and media. This award is given to an outstanding doctoral
student in the department. For this reason, I was thrilled when her advisor asked me on Monday,
March 24th—the day before she was detained—if I would serve on her doctoral committee. It is
a role I gladly accepted. I welcome the opportunity to interact with Rumeysa in this new capacity
and to support her academic journey.

To that end, I want to highlight that Rumeysa’s dissertation on social media and positive youth
development will cover an understudied and critically important to the field of developmental
science specifically and to public discourse around the role of social media in the lives of
children and youth more generally given widespread attention to this topic. Completing her
dissertation is the final step in Rumeysa’s doctoral studies, and she is extremely close to this
major milestone after years of intensive work. It is essential for her professional development
that she return to Tufts to complete her dissertation within the next year as planned.
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Although I have not worked directly with Rumeysa in her role as a Teaching Assistant. She has
made a valuable contribution to the education of undergraduates at Tufts. She even taught her
own course on children and media for a pre-college program. As is clear, her contributions to
our department are innumerable.

In conclusion, Rumeysa is a deeply valued member of our community and truly a remarkable
person. I have tried to express her strong character, defined by her role as a uniter and
community builder with a kind and gentle manner. Please do not hesitate to reach out to me for
any additional information I can provide.

I declare that the above statements are true and correct to the best of my knowledge and ability.

Cordially,



Tama Leventhal, Ph.D.
Professor & Chair
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                         DECLARATION OF TUFTS UNIVERSITY

Tufts University (an entity legally known as “The Trustees of Tufts College” and henceforth

referred to as “Tufts University”, the “University” or “Tufts”), declares as follows:

       1.      On Tuesday, March 25, 2025, the University learned that Rümeysa Öztürk, a Tufts

doctoral student from Turkey, was taken into custody by the Department of Homeland Security

as she was leaving her off-campus apartment in Somerville, Massachusetts. The University

understands that she was leaving her home that evening for an Iftar dinner hosted at the Tufts

Interfaith Center where she would break her Ramadan fast for the day.

       2.      At around 6:30 p.m. that evening, the Tufts University Police Department received

courtesy notification from the Somerville Police Department that an individual had been detained

by federal authorities and that the person in custody might be a Tufts student. We confirmed

through our records that the person in question was Rümeysa Öztürk.

       3.      At 7:32 p.m., Ms. Öztürk’s record in the Student and Exchange Visitor

Information System (SEVIS) was updated to note that her visa was terminated. Prior to that, and

at the time of her detention, Ms. Öztürk was in “good immigration standing” according to her

record in SEVIS, and both Ms. Öztürk and Tufts had followed the governing regulations for

students on visas. The University then received a notice, dated March 25, 2025 and received via

email on March 26, 2025 at 10:31 a.m., stating that Ms. Öztürk’s SEVIS designation was

terminated under the Immigration and Naturalization Act (INA) section 237(a)(1)(C)(i) (which

relates to failure to maintain valid nonimmigrant status) and/or INA section 237(a)(4)(C)(i)

(which addresses noncitizens “whose presence or activities in the United States the Secretary of

State has reasonable ground to believe would have potentially serious adverse foreign policy

consequences for the United States”).




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       4.      With her consent, the University can confirm that Ms. Öztürk is a third-year

doctoral student in good academic and administrative standing. Her research focuses on how

young adults can use social media in positive, prosocial ways and she is described by her faculty

as a hard-working student dedicated to her studies and the Tufts community. The University has

no information to support the allegations that she was engaged in activities at Tufts that warrant

her arrest and detention. The University has seen an outpouring of support for Ms. Öztürk over

the last week from Tufts students, faculty and staff. These individuals have described Ms. Öztürk

as a valued member of the community, dedicated to her academic pursuits and committed to her

colleagues.

       5.      The University can confirm that Ms. Öztürk was one of several authors of an

opinion piece in the student newspaper, The Tufts Daily, published on March 26, 2024, entitled:

“Try again, President Kumar: Renewing Calls for Tufts to Adopt March 4 TCU Senate

resolutions.” The University declares that this opinion piece was not in violation of any Tufts

policies. Further, no complaints were filed with the University or, to our knowledge, outside of

the University about this op-ed. The University maintains that the op-ed was consistent with

speech permitted by the Declaration on Freedom of Expression adopted by our trustees on

November 7, 2009. (Attached hereto as Exhibit A.) For the record, a search of the Tufts Daily

will reveal op-eds on multiple sides of the issue with opinions that were shared just as strongly

as the op-ed Ms. Öztürk co-authored. The University has no further information suggesting that

she has acted in a manner that would constitute a violation of the University's understanding of

the Immigration and Naturalization Act.

       6.      Our international students, faculty, and staff are vital to deliver on the education,

teaching, research, and public service mission of Tufts University. The University sponsors 1,818




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continuing international students on F-1 visas, alongside 569 alumni who are pursuing post-

completion work authorization in the United States, and 24 degree and non-degree students on J-

1 visas. This is in addition to the broader community of students, faculty, and staff that hold

various immigrant and non-immigrant statuses.

       7.      The free movement of our international community members is therefore essential

to the functioning of the University and serving our mission. The University has heard from

students, faculty and staff who are forgoing opportunities to speak at international conferences

and avoiding or postponing international travel. In the worst cases, many report being fearful of

leaving their homes, even to attend and teach classes on campus.

       8.      The University declares that many of these students will go on to make significant

economic and intellectual contributions to the United States and in countries around the world.

They will do so by working in or building new companies, through teaching and research in

universities and other academic and healthcare institutions, and through public service in the

United States and across the globe. The University is confident in its declaration because

thousands of Tufts University alumni have received their education while on F-1 visas and have

gone on to make a positive impact to the economic prosperity and intellectual success of the

United States and other countries.

       9.      The undersigned submits this declaration, on behalf of Tufts University, in support

of Ms. Öztürk and asks that she receive the due process rights to which she is entitled. Based on

everything we know and have shared here, the University seeks relief so that Ms. Öztürk is

released without delay so that she can return to complete her studies and finish her degree at Tufts

University.




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On behalf of the University, the undersigned declares under the penalty of perjury that the

foregoing is true and correct.

       Executed on April 1, 2025, at Tufts University.




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                                            ______________________________
                                            SUNIL KUMAR
                                            PRESIDENT, TUFTS UNIVERSITY




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                    EXHIBIT A




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     DECLARATION ON FREEDOM OF EXPRESSION AT TUFTS UNIVERSITY
Tufts University is an educational community that has as its paramount mission the discovery
and dissemination of knowledge and the pursuit of the arts through study, teaching, and
research. For this community to achieve its mission, all members must have full and equal
opportunity to pursue personal and intellectual growth.
   Freedom of expression and inquiry are fundamental to the academic enterprise. Without
   freedom of expression, community members cannot fully share their knowledge or test ideas
   on the anvil of open debate and criticism. Without freedom of inquiry, community members
   cannot search for new knowledge or challenge conventional wisdom.
Freedom of expression and inquiry are not absolute. The law, for example, provides that
freedom of expression does not include the right to slander the reputation of another, to engage
in specified forms of harassment, to threaten or obstruct a speaker who advances unwelcome
ideas, or to incite another person to violence. Scholarly inquiry also is limited by federal and
state regulation, ethical tenets, and professional standards designed to protect human and
animal subjects. In addition, the University seeks to ensure the orderly function of the
educational enterprise and to ensure that all members of the community have the opportunity to
participate in and benefit from the discovery and dissemination of knowledge.
Members of the Tufts community owe one another the basic respect and ethical obligations of
human beings engaged in a common endeavor. While not enjoying the force of law, these
obligations reflect three basic community values: 1) respect for the freedom of other community
members to inquire and express themselves fully; 2) the need to exercise freedom of expression
and inquiry in ways that respect the human dignity of others; and 3) the importance of a climate
at Tufts that is conducive to learning and in which all community members, regardless of
background, are free from behavior that interferes with their ability to study, grow, and attain
their full potential.

Members of the university community, including academic and administrative leaders, must
hold accountable those who do not respect these values.
When community values are not respected, every member of the Tufts community has an
obligation to respond. Those who are the target of such speech should not and must not bear the
burden of responding alone. An affront against any member of our community is an affront to
all of us. It is only by affirming our collective values that we can build a stronger, more
cohesive, and more vibrant community where differences are respected and all are made to feel
welcome.
It is incumbent upon all members of the Tufts community, and especially the University
leadership, to educate the community about the diverse world in which we live and to support
and empower members whose rights are violated. In the end, freedom of expression and inquiry
is necessary but not sufficient on its own for learning to take place. Achieving our educational
mission requires an environment of respect, tolerance, and civil dialogue.


Approved by the Board of Trustees, November 7, 2009




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